      Case: 1:17-cv-00173-SA-DAS Doc #: 22 Filed: 05/24/18 1 of 3 PageID #: 93



                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                ABERDEEN DIVISION


 LAROSSASA BROWN, Individually, and on
 behalf of themselves and other similarly situated
 current and former employees,

       Plaintiffs,

 v.                                                     Civil Action No.: 1:17-cv-173-SA-DAS

 HUDDLE HOUSE, INC.,
 a Georgia Corporation,

       Defendant.

______________________________________________________________________________
            JOINT MOTION TO FILE CONFIDENTIAL SETTLEMENT
                          AGREEMENT UNDER SEAL
______________________________________________________________________________

       COME NOW the parties in the above captioned entitled action and move, pursuant to Rule

5.2 of the Federal Rules of Civil Procedure and Local Rule 79, for permission to file their proposed

Confidential Settlement Agreement and Release (“Confidential Settlement Agreement”) in this

case under seal. The parties are filing with the Court their Joint Motion to Approve Settlement in

conjunction with the settlement of Plaintiffs’ collective action filed under Section 216(b) of the

Fair Labor Standards Act (FLSA). The Confidential Settlement Agreement would be attached as

Exhibit A to the parties Joint Motion to Approve Settlement. The Court, as part of its duty to

evaluate the settlement of this FLSA collective action must be allowed to review the contents of

the Confidential Settlement Agreement. However, the parties wish to preserve the confidentiality

of the Agreement and therefore seek permission to file the Confidential Settlement Agreement

under seal.
       Case: 1:17-cv-00173-SA-DAS Doc #: 22 Filed: 05/24/18 2 of 3 PageID #: 94



        Therefore, the parties seek permission of the Court to file the Confidential Settlement

Agreement (Exhibit A to the parties’ Joint Motion to Approve Settlement which will be filed upon

disposition of this Motion) under seal from public access only, with CM/ECF access permitted to

the litigants’ counsel.

        Dated: May 24, 2018                  Respectfully Submitted,



 /s/ George B. Ready                                  s/Craig A. Cowart
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 Attorney for the Named Plaintiffs, on behalf         Justin R. Barnes (admitted pro hac vice)
 of themselves and all other similarly situated       Eric R. Magnus (admitted pro hac vice)
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                                                      ATTORNEYS FOR DEFENDANT




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     Case: 1:17-cv-00173-SA-DAS Doc #: 22 Filed: 05/24/18 3 of 3 PageID #: 95



                               CERTIFICATE OF SERVICE


       I hereby certify that on the 24th day of May, 2018, a true and correct copy of the above

JOINT MOTION TO FILE CONFIDENTIAL SETTLEMENT AGREEMENT UNDER SEAL

was served through the Court’s ECF notification system upon all counsel of record.


                                                           /s/Craig A. Cowart
                                                           Craig A. Cowart
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                                                           Attorneys for Defendant




      4853-2320-5989, v. 4




                                               3
